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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA


       V.                                          CRIMINAL NO.TDC-20-33
                                                   CRIMINAL NO.TDC-21-206


BRIAN MARK LEMLEY,JR. and
PATRIK JORDAN MATHEWS,

               Defendant
                                             *

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              ORDER GRANTING MOTION TO CONTINUE DEADLINE


      The Court is in receipt of the Government's Motion to Continue Deadline to File

Sentencing Memoranda. It is HEREBY ORDERED that the deadline for the parties to file their

opening sentencing memoranda is continued until September 30,2021.




                                            Hon. Theodore D. Chuang
                                            United States District Judge
